Case 1:14-ml-02570-RLY-TAB Document 19812 Filed 09/01/21 Page 1 of 5 PageID #:
                                 123184



                   IN THE UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
                           INDIANAPOLIS DIVISION
__________________________________________
IN RE: COOK MEDICAL, INC, IVC FILTERS
MARKETING, SALES PRACTICES AND                Case No. 1:14-ml-2570-RLY-TAB
PRODUCTS LIABILITY LITIGATION                                   MDL No. 2570
__________________________________________

This Document Relates to Plaintiff(s)
__________________________________________
YOLANDA SMITH
 Civil Case#_______________________________
             1:21-cv-06571


                                 SHORT FORM COMPLAINT


       COMES NOW the Plaintiff(s) named below, and for Complaint against the Defendants

named below, incorporate The Master Complaint in MDL No. 2570 by reference (Document

213). Plaintiff(s) further show the court as follows:

       1. Plaintiff/Deceased Party:

           ____________________________________________________________________
           Yolanda Smith
       2. Spousal Plaintiff/Deceased Party’s spouse or other party making loss of consortium

           claim:

           ____________________________________________________________________
           N/A
       3. Other Plaintiff and capacity (i.e., administrator, executor, guardian, conservator):

           ____________________________________________________________________
           N/A
       4. Plaintiff’s/Deceased Party’s state of residence at the time of implant:

           ____________________________________________________________________
           Ohio




                                                 1
Case 1:14-ml-02570-RLY-TAB Document 19812 Filed 09/01/21 Page 2 of 5 PageID #:
                                 123185



      5. Plaintiff’s/Deceased Party’s state of residence at the time of injury:

          ____________________________________________________________________
          Ohio
      6. Plaintiff’s/Deceased Party’s current state of residence:

         _____________________________________________________________________
         Ohio


      7. District Court and Division in which venue would be proper absent direct filing:

         _____________________________________________________________________
         United States District Court for the Southern District of Ohio


      8. Defendants (Check Defendants against whom Complaint is made):

             □
             ✔       Cook Incorporated

             □
             ✔       Cook Medical LLC

             □
             ✔       William Cook Europe ApS

      9. Basis of Jurisdiction:

             □
             ✔       Diversity of Citizenship

             □       Other: ________________________________________________
                            N/A
         a. Paragraphs in Master Complaint upon which venue and jurisdiction lie:

         _____________________________________________________________________
          Paragraph 11: Subject Matter

         _____________________________________________________________________
          Paragraph 11: Personal

         _____________________________________________________________________
          Paragraph 12: Venue

         b. Other allegations of jurisdiction and venue:

         _____________________________________________________________________
          N/A

         _____________________________________________________________________

         _____________________________________________________________________


                                                2
Case 1:14-ml-02570-RLY-TAB Document 19812 Filed 09/01/21 Page 3 of 5 PageID #:
                                 123186



      10. Defendants’ Inferior Vena Cava Filter(s) about which Plaintiff(s) is making a claim

         (Check applicable Inferior Vena Cava Filters):

             □
             ✔       Günther Tulip® Vena Cava Filter

             □       Cook Celect® Vena Cava Filter

                     Gunther Tulip Mreye
                     Cook Celect Platinum
                     Other:
                     ____________________________________________________
                     N/A
      11. Date of Implantation as to each product:

         _____________________________________________________________________
         5/2/2006

         _____________________________________________________________________

      12. Hospital(s) where Plaintiff was implanted (including City and State):

         _____________________________________________________________________
         The Christ Hospital, 2139 Auburn Ave, Cincinnati, OH 45219

         _____________________________________________________________________

      13. Implanting Physician(s):

         _____________________________________________________________________
          Jeffrey Standley, M.D., 2139 Auburn Ave, Cincinnati, OH 45219

         _____________________________________________________________________

         _____________________________________________________________________

         _____________________________________________________________________

      14. Counts in the Master Complaint brought by Plaintiff(s):

             □
             ✔       Count I:        Strict Products Liability – Failure to Warn

             □
             ✔       Count II:       Strict Products Liability – Design Defect

             □
             ✔       Count III:      Negligence

             □
             ✔       Count IV:       Negligence Per Se

                                               3
Case 1:14-ml-02570-RLY-TAB Document 19812 Filed 09/01/21 Page 4 of 5 PageID #:
                                 123187



             □
             ✔       Count V:          Breach of Express Warranty

             □
             ✔       Count VI:         Breach of Implied Warranty

             □
             ✔       Count VII:        Violations of Applicable ________________
                                                                OH               (insert State)

                     Law Prohibiting Consumer Fraud and Unfair and Deceptive Trade

                     Practices

             □       Count VIII:       Loss of Consortium

             □       Count IX:         Wrongful Death

             □       Count X:          Survival

             □
             ✔       Count XI:         Punitive Damages

             □       Other:            ___________________ (please state the facts supporting
                                       N/A
                     this Count in the space, immediately below)

             □       Other:            ___________________ (please state the facts supporting
                                       N/A
                     this Count in the space, immediately below)

             __________________________________________________________________
             N/A

             __________________________________________________________________

             __________________________________________________________________

             __________________________________________________________________

             __________________________________________________________________

      15. Attorney for Plaintiff(s):

         _____________________________________________________________________
         John T. Kirtley III - Ferrer Poirot & Wansbrough
      16. Address and bar information for Attorney for Plaintiff(s):




                                                  4
Case 1:14-ml-02570-RLY-TAB Document 19812 Filed 09/01/21 Page 5 of 5 PageID #:
                                 123188



           _____________________________________________________________________
           2603 Oak Lawn Ave. Suite 300

           _____________________________________________________________________
           Dallas, Texas 75219

           _____________________________________________________________________
           Texas Bar No. 11534050


                                        Respectfully submitted,

                                        /S/ JOHN T. KIRTLEY, III
                                        John T. Kirtley, III
                                        Texas Bar No. 11534050
                                         2603 Oak Lawn Avenue, Suite 300
                                         P.O. Box 199109
                                         Dallas, Texas 75219
                                         (214) 521-4412
                                         (214) 526-6026 Fax
                                         jkirtley@lawyerworks.com
                                           Asst. molvera@lawyerworks.com
                                        ivcfiling@lawyerworks.com

                                       ATTORNEY FOR THE PLAINTIFFS
                                       YOLANDA SMITH

                               CERTIFICATE OF SERVICE

     I hereby certify that on 9/01/2021                  , a copy of the foregoing was served
electronically and notice of the service of this document will be sent to all parties by operation of
the Court’s electronic filing system to CM/ECF participants registered to receive service in this
matter. Parties may access this filing through the Court’s system.


                                       /s/ JOHN T. KIRTLEY, III
                                       John T. Kirtley, III




                                                 5
